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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: January 06, 2025.

                                                                __________________________________
                                                                        SHAD M. ROBINSON
                                                                UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION
    In re:                                           §                       Case No. 24-10120-smr
                                                     §
    Texas REIT, LLC,                                 §
                                                     §
             Debtor.                                 §                                    Chapter 11


      ORDER GRANTING DEBTOR’S OBJECTION TO CLAIM OF JOHN QUINLAN,
         OMAR KHAWAJA AND OSAMA ADBULLATIF (Claim No. 9-1) AND
          ORDER ON MOTION FOR LEAVE TO WITHDRAW CLAIM NO. 9
                       (Relates to ECF Nos. 165 & 228)

             On December 19, 2024, the Court conducted a hearing on the Debtor’s Objection to Claim

   9-1, John Quinlan, et al with Notice thereof (the “Objection” at ECF No. 165) and the Claimants’

   Motion for Leave to Withdraw Claim No. 9 (the “Motion to Withdraw” at ECF No. 228). For the

   reasons set forth on the record, the Court finds that it should enter the following order.

             1. IT IS THEREFORE ORDERED that Claim No. 9-1 is DENIED in its entirety.

             2. IT IS FURTHER ORDERED that the Debtor shall serve notice of this Order on:
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                                    Steven A. Leyh
                                    Hoover Slovacek, LLP
                                    5051 Westheimer, Suite 1200
                                    Houston, TX 77056

          3. IT IS FURTHER ORDERED that Claimants are granted leave to withdraw Claim

              No. 9-1 on the following conditions and the Court finds and holds that:

                 a. Claim No. 9-1 is and shall be withdrawn with prejudice.

                 b. Within ten (10) days from entry of this Order, Claimants shall dismiss their

                     claims against Texas REIT, LLC in Adv. No. 23-3141, pending in the

                     Bankruptcy Court for the Southern District of Texas, with prejudice.

                 c. Within ten (10) days from entry of this Order, Claimants shall take all necessary

                     action to release and withdraw any Notices of Lis Pendens filed by Claimants

                     with regard to any property of Texas REIT, LLC, and record any required

                     document in the deed records of each applicable county.

                 d. The automatic stay is modified to permit Claimants to comply with this Order.

                 e. All rights, claims, defenses and entitlements of Texas REIT, LLC to seek relief

                     against Claimants are hereby preserved and retained.

          IT IS FURTHER ORDERED that this Court shall retain jurisdiction to hear and

   determine any and all matters arising from or related to the implementation, interpretation, and

   enforcement of this Order.

                                                ###
